
THE defendant Was indicted for perjury, in the Superior Court of law of Frederick county. He was charge ed with having wilfully, and corruptly, and falsely taken the oath prescribed by the act of assembly intituled, “ an act “ for further continuing and amending the act, intituled “ an act for reducing into one the several acts concerning “executions, and for the relief of insolvent debtors,’' commonly called the insolvent debtor’s oath. See 1 Rev. *182Co. p. 303, sect. 38. The indictment concluded againv: the form of the statute.
The defendant moved the court to quash the indictment, alleging that the matters and things therein contained and charged, are not punishable by the common law. nor by any statute of the commonwealth, and the court adjourned the said question to the general court, for its opinion and advice.
The general court, June 12th, 1811, consisting of the same members as in the case of Morris, declared it to be their “ unanimous opinion that the matters and things “ contained in the indictment, for taking a false oath as “ an insolvent debtor, are punishable, and that such false “ oath is perjury at common law”
